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          THE LAW OFFICE OF EDWARD
                 HANRATTY
Edward Hanratty, Esq.                                          80 Court Street
 Admitted in NJ,PA,WV                                        Freehold, NJ 07728
                                                            Tel:732-866-6655
www.centralnewjerseybankruptcylawyer.com                    Fax: 732-734-0651




                                         July 26, 2020

Hon. Michael B. Kaplan, U.S.B.J.
United States Bankruptcy Court
Hon. Clarkson S. Fisher, Sr. Federal Building
402 East State Street
Trenton, NJ 08608
Via: ECF

              Re: Edward & Christina Nevius
              Case No. 20-10395-MBK
              Motion to Fix Proof of Claim 7


Your Honor,

       Please accept this letter in lieu of a more formal brief in

support of debtor’s objection and by way of reply to the

creditor’s response to the claim set forth above.


       The creditor’s assertion that 11 USC 1322(b)(2), the anti-

modification provision of the code, should apply, is misplaced.

11 USC 1322(e) explicitly instructs that 11 USC 1322(b)(2) is to

be disregarded should the debtor propose plan to cure the

default (“if it is proposed in a plan to cure a default, the
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amount necessary to cure the default, shall be determined in

accordance with the underlying agreement and applicable

nonbankruptcy law”). In the present case, the debtor has

proposed a plan that relies on obtaining a loan modification,

which would cure the default albeit consensually.

Alternatively, there is no confirmed plan in place, and the

debtor may amend its plan. But a feasible cure plan in the

instant case would probably only arise should the creditor’s

post-judgment rights be restricted to those afforded under

applicable state law.        To require a debtor to propose an

infeasible plan runs contrary to the bankruptcy codes

requirement that the debtor propose a plan in good faith.                 Not

permitting the debtor to have a determination under 11 USC

1322(e) of the amount due the secured creditor because the

debtor cannot propose a “classic” cure plan is inequitable, as

it gives the creditor the benefit          of a possibly over-valued

claim and the debtor no ability to challenge that valuation so

as to propose a feasible plan on facts rather than assertions.


      The creditor’s assertion of In re Goione, 595 B.R. 477

(D.N.J. 2019), is likewise misplaced. In that case 11 USC 1322

(e) was not raised. The briefs and opinion to not mention 11

U.S.C. 1322(e).     The facts of Goione were that there was an

over-secured creditor seeking post-judgment interest under 11
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USC 506(b), and the debtor asserted that only the post-

foreclosure judgment rate of interest was due.              In Goine, the

real estate was sold prior confirmation and there was no plan to

cure pending, proposed or factually possible.             Here, the

creditor is indisputably under secured, there is a cure plan

proposed, and the determination of the instant objection will

determine if the cure will be by loan modification of by

“classic” cure.      Again, 11 USC 1322(e) directs that 11 USC

506(b) be ignored under an analysis to establish amounts due to

cure a default).     The creditors in Goione also asserted that 11

USC 1332(b) forbade the imposition of the post-judgment interest

rate as the debt at issue was a first mortgage.              Because the

propose plan was for the sale of the subject collateral, the

court permitted the imposition of the post-judgment, rather than

contract, interest rate.




The Goione court did make a point that is relevant to this

matter. The Goione court stated:” The Debtors in this case have

not modified Amboy's rights under their plan, as the closing on

the sale and satisfaction of Amboy's claim has occurred prior to

confirmation.” That is relevant to this matter because in this

case, the debtor has not yet confirmed a plan, is not asserting
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an ability to alter the creditor’s secured status, right to a

cure or any other rights, be they contractual or statutory.                 The

debtor is asserting his right to have the amount due on the

claim for arrears fixed pursuant to the contract and applicable

state law, so that a feasible cure plan can be completed (be it

by “classic” cure of loan modification) and a discharge

obtained.


      The issue before the court today is analogous to the issue

present in In re Hatala, 295 B.R. 62 (D.N.J. 2003) and In re

Lipscomb (05-18722 JHW (D.N.J. 2006), attached hereto as Exhibit

A).


      In those two cases, the court considered the applicability

of the New Jersey Court Rules to the calculations of amounts due

on secured claims. Both courts cited NJCR 4:42-9 as setting

forth a state law limitation of the amount of attorney fees and

costs that could be imposed in connection with a foreclosure.

The Hatala court reasoned, and the Lipscomb court agreed, that

enhancing the rights of a secured creditor/judgment holder

beyond what state law permitted not only injured the debtor, but

reduced the likelihood of a dividend to other creditors, thereby

injuring the estate. Both courts agreed it would be inequitable

to allow a secured creditor a greater share of the estate assets
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where state law forbade such enhancement, and the bankruptcy

code contained no contrary provision for such enhancement.


      In re Mendes, 600 B.R. 321 (D.N.J. 2019), present d a

factual scenario similar to Hatala and Lipscomb.              The debtor

sought adjudication of the amount due on a foreclosure judgment-

specifically the attorney fees and costs, which as claimed

exceeded those permitted by New Jersey law. However, none of the

parties asserted 11 USC 1322(e), and the only relief granted was

relief form the stay limited to permitting the creditor to seek

relief in the state court to set the fees and costs due on the

judgment.


      By asserting that the contract rate of interest should be

imposed after the entry of final judgment, the creditor is

asserting more rights than they have under state law. Absent the

filing of the bankruptcy petition and the entry of the order for

relief,     the creditor would clearly not be entitled to contract

interest post-judgment.         However, once the order for relief is

entered, the debtor’s contractual obligation resumes, absent an

agreement or a court order altering that contract. That is the

creditors “benefit” of bankruptcy.           The benefit of foreclosure

is the seizing and selling of the collateral. The benefit of

bankruptcy is the resumption of the original contract post-

petition. But, the period between the entry of judgment and the
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entry of the order for relief is governed by state law. The

reduction of the permitted interest penalizes the creditor for

any delay in returning the property to its highest, best use, by

not allowing to to sit derelict. The imposition of the

obligation to pay pursuant to the contract after the order for

relief protects the creditor from further loss and is consistent

with the code’s prescription of adequate protection to secured

creditors while debtors have use of the collateral. That appears

to be the logic that makes the two systems, state law

foreclosure and bankruptcy, work together, to protect the

creditors interest in maximizing value of this problem account

and provide for adequate protection, the state’s interest in

clearing derelict properties, and the debtor’s interest in

either surrendering the property or working out a feasible plan

to retain the property (either prior to bankruptcy or via a

bankruptcy plan) that benefits all parties that find themselves

in a bad situation.


      In the present case, the debtor is asking: ”If the fees

charged to a mortgage debt are subject to limitation by

applicable state law, and 11 U.S.C. 1322 (e) says that

notwithstanding any of the other restrictions set forth in

1322(2), (b(5) or 506(b), what is the interest rate on the

secured debt not also restricted to that set by applicable state
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law?”. The answer is that the interest rate is restricted and

asks that the objection be sustained.




                                                  Very yours truly,


                                                  /s/ Edward Hanratty
                                                  EDWARD HANRATTY, ESQ.
                                                  For the firm
